                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

 NICHOLE LEIB, KEVIN
 BROKENSHIRE, and DIANE
 WEIGLEY, individually and on behalf
 of all other similarly situated,

                      Plaintiffs,               Case No. 4:21-cv-00196-MWB
                                                Judge Matthew W. Brann
                v.

 GEISINGER HEALTH and
 EVANGELICAL COMMUNITY
 HOSPITAL,

                      Defendants.


                                       ORDER

     AND NOW, this 1st day of March 2021, upon consideration of the Joint

Motion to Adjust/Set Case Deadlines, IT IS HEREBY ORDERED that:

     1.)   Said Motion is GRANTED; and

     2.)   The following deadlines SHALL APPLY in this matter:

           a.        Plaintiffs will file a motion (or motions) seeking: (i) under Fed.

     R. Civ. P. 42(a) to consolidate this action with Sauer v. Geisinger Health, et

     al., Case No. 4:21-cv-00263-MWB, and (ii) under Fed. R. Civ. P. 23(g) to

     appoint interim lead class counsel for the consolidated case within five (5)

     days of this Order;
      b.     Plaintiffs will file a single consolidated class action complaint

within seven (7) days of the Court entering an order consolidating this action

with Sauer v. Geisinger Health, et al., Case No. 4:21-cv-00263-MWB;

      c.     Defendants shall answer or otherwise move under Fed. R. Civ.

P. 12 within sixty (60) days of Plaintiffs’ filing of the consolidated class

action complaint;

      d.     Plaintiffs’ opposition to any motion under Fed. R. Civ. P. 12

shall be due forty-two (42) days from the date of Defendants’ motion; and

      e.     Defendants’ reply in support of such motion shall be due

twenty-one (21) days from the date of Plaintiffs’ opposition.




                                        BY THE COURT:


                                         s/ Matthew W. Brann
                                        ______________________
                                        Matthew W. Brann
                                        United States District Judge




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